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DECLARATION OF DANIELLA RODRIGUEZ

I, Daniella Rodriguez, the undersigned, hereby make this sworn declaration under penalty
of perjury and state as follows:

1. My name is Daniella Rodriguez.

2. I am over eighteen (18) years of age and am otherwise competent to make this
declaration.
3. I make this declaration based upon the best of my knowledge, information, or

belief.

4, Akari Johnson (“Akari”), Oneil Khosa (“Oneil”), Aileen Gonzalez (“Aileen”), and
Ellen Summers (“Ellen”) are personally known to me.

5. I worked alongside Aileen and Ellen at MMI 82, LLC, also known as Casa Morada.

6. I started working for Casa Morada in December of 2023 as the General Manager
(“GM”).

7. I was not aware of any policies regarding discrimination, harassment, or retaliation
that Casa Morada maintained. I do not believe these policies exist, and if they do, I have never
seen them.

8. At no point throughout the duration of my employment for Casa Morada did I
receive any training in relation to sexual harassment, discrimination, or retaliation.

9. I did not train any employee during the duration of my employment in
discrimination, harassment, or retaliation. The only training I issued was training in relation to sex
trafficking.

10. _—‘ The only training I received was from Aileen, the previous GM, who trained me on

the duties of the GM position for approximately one week.

EXHIBIT
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11. Oneil fails to take accountability for his actions or for Casa Morada, and routinely
throws his employees under the bus when things go wrong.

12. During my employment, Oneil placed me in charge of many duties, ranging from
payroll, timecards, scheduling, laundry, breakfast, and front desk.

13. On many occasions, I would have to sleep at Casa Morada in order to perform the
duties of my job. Oneil allowed me to sleep in a room at Casa Morada and he never asked me to
pay for the room. I am aware that Aileen Gonzalez also slept at Casa Morada on occasion in order
to perform the duties of her job.

14. Although I tried to defend the staff members, Oneil would ask me to do things I
was not comfortable with, with respect to the staff members’ employment. For example, Oneil did
not allow me to pay any employees their earned overtime wages. Instead, Oneil asked me to write
multiple checks for an employee who worked overtime; one check for the regular hours and one
for the overtime hours, however both would be paid at the non-overtime rates.

15. Oneil further asked me to “find a way to legally fire” a loyal employee, Julio,
although Julio did nothing wrong.

16. I paid for Casa Morada events myself, including staff lunches.

17. Shortly after my employment with Casa Morada began, Oneil took away all of the
employees’ Christmas bonuses and tried to make it seem like I removed the employees’ bonuses.

18. =‘ In early 2024, the Department of Labor (“DOL”) investigated Casa Morada. I was
responsible for interacting with the DOL investigator, but Oneil made sure he approved all of my
email communications before I sent them. During this investigation, Oneil instructed me to make
key files, including paychecks, paystubs, and other financial records, “disappear,” as if “there was

a hurricane that destroyed them.” Oneil explicitly asked me to destroy key financial records even

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though I was not comfortable doing so. I had no choice but to follow Oneil’s orders and destroy
some of these key documents.
19. Casa Morada is a toxic, hostile working environment that caused me severe

emotional distress.

VERIFICATION PURSUANT TO 28 U.S.C. § 1746

I, Daniella Rodriguez, declare under penalty of perjury that the foregoing is true and

correct.

Executed on 91 / 21 / 2025

Nanella KodrguezZ

DANIELLA RODRIGUEZ

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